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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE EX PARTE APPLICATION OF SPS I
FUNDO DE INVESTIMENTO DE AÇÕES –
INVESTIMENTO NO EXTERIOR FOR AN
ORDER TO TAKE DISCOVERY PURSUANT TO
28 U.S.C. § 1782
                                                            Case No. 1:22-mc-00118-LAK




NOTICE OF INTERVENORS JOESLEY BATISTA, WESLEY BATISTA, JBS S.A., AND
  J&F INVESTIMENTIOS S.A.’S MOTION TO VACATE THE COURT’S EX PARTE
 ORDER AND TO QUASH SUBPOENAS FOR THE PRODUCTION OF DOCUMENTS
                 FOR USE IN A FOREIGN PROCEEDING


       Pursuant to the Court’s Order (ECF No. 8), 28 U.S.C. § 1782 and the Federal Rules of Civil

Procedure 26, 45 and 60, Intervenors Joesley Batista, Wesley Batista, JBS S.A., and J&F

Investimentos S.A. (“Intervenors”), by its undersigned attorneys, respectfully moves to vacate the

Court’s April 26, 2022 order (“Order”) granting Applicant SPS I Fundo de Investimento de Ações

– Investimento no Exterior’s (“SPS” or “Petitioner”) ex parte application to take discovery

pursuant to 28 U.S.C. § 1782 (the “Application”) and to Quash the subpoenas served on J.P.

Morgan Chase Bank, N.A. (“J.P. Morgan”) and Barclays USA, Inc. (“Barclays” and, with J.P.

Morgan, “Respondents”).

       In support of its motion, Intervenors respectfully submit a Memorandum of Law In Support

of its Motion to Vacate the Court’s April 26, 2022 Ex Parte Order and Quash the Subpoenas,

Declaration of Pablo Renteria dated June 3, 2022, with supporting exhibit, and Declaration of

Lucas Bento dated June 3, 2022, with supporting exhibits.
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Dated: June 3, 2022                Respectfully submitted,

                                   /s/ Michael Carlinsky
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